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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                  CASE NO. 22-81294-CIV-CANNON

  DONALD J. TRUMP,

          Plaintiff,
  v.

  UNITED STATES OF AMERICA,

          Defendant.
                                        /

                    ORDER GRANTING JOINT MOTION TO FILE
          REDACTED AND UNREDACTED GLOBAL ISSUES BRIEFS UNDER SEAL

          THIS CAUSE comes before the Court upon the parties’ Joint Motion to File Portions of

  Global Issues Briefs Under Seal (the “Motion”) [ECF No. 168]. The Motion seeks permission to

  file under seal four documents, which are two alternate versions of the parties’ two briefs submitted

  to the Special Master, which refer to certain seized materials or categories of seized materials, and

  which fall within the scope of the protective order issued by the Special Master [ECF No. 113].

          The Court has reviewed the Motion and is otherwise duly advised. Accordingly, it is hereby

          ORDERED AND ADJUDGED as follows:

          1. The Motion [ECF No. 168] is GRANTED.

          2. On or before November 8, 2022, the parties shall file the four documents described

              above under seal.

          3. The seal will remain in place until further order of the Court.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida this 8th day of November

  2022.

                                                           _________________________________
                                                           AILEEN M. CANNON
                                                           UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
